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     EXHIBIT 19
                  (Corrected)
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            DONALD WARREN NEUFELD, 30(B)(6) - 08/09/2018                   ·

 ·1· · · · · · · ·UNITED STATES DISTRICT COURT

 ·2· · · · · · ·NORTHERN DISTRICT OF CALIFORNIA

 ·3· · · · · · · · · · · SAN FRANCISCO

 ·4· · · · · · · · Case No. 3:18-cv-1554-EMC

 ·5· ·-------------------------------x

 ·6· ·CRISTA RAMOS, et al.,

 ·7· · · · · · · · · Plaintiffs,

 ·8· · · · · · vs.

 ·9· ·KIRSTJEN NIELSEN, et al.,

 10· · · · · · · · · Defendants.

 11· ·--------------------------------x

 12

 13· · · · · · ·VIDEOTAPE 30(B)(6) DEPOSITION OF

 14
 · · · · · · ·U.S. DEPARTMENT OF HOMELAND SECURITY
 15
 · · · · ·VIA ITS REPRESENTATIVE DONALD WARREN NEUFELD
 16

 17· · · · · · · · ·Thursday, August 9, 2018

 18· · · · · · · · · · ·Washington, D.C.

 19

 20

 21

 22

 23· ·REPORTED BY:

 24· ·Susan Ashe, RMR, CRR

 25· ·Job Number LA-185456


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 ·1· · · · Q.· ·Do you know under any administration?
 ·2· · · · A.· ·No.
 ·3· · · · Q.· ·Once Office of Policy and Strategy has a
 ·4· ·draft recommendation memo, what's the next step?
 ·5· · · · A.· ·It goes to the director for his or her
 ·6· ·consideration and ultimate sign-off.
 ·7· · · · Q.· ·Is there any internal review that happens
 ·8· ·of that memo before it goes to the director?
 ·9· · · · A.· ·There has been at times a concurrence
 10· ·process.
 11· · · · · · ·So the draft would be -- there's a
 12· ·standing process for concurrence at the USCIS on any
 13· ·kind of correspondence or documentation, and it's --
 14· ·in the past that -- I'm aware that that
 15· ·recommendation memo -- recommendation memos have
 16· ·gone -- that draft recommendation memos have gone
 17· ·through that concurrence process before they --
 18· ·before it makes it up to the director for signature.
 19· · · · Q.· ·Is there a standard procedure within USCIS
 20· ·for that concurrence process?
 21· · · · A.· ·The concurrence process is standardized.
 22· · · · · · ·What gets submitted to it is not
 23· ·necessarily standardized.
 24· · · · Q.· ·It sounded like some -- that
 25· ·recommendation memos went through this concurrence


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 ·1· ·process at some point in time, but not always.
 ·2· · · · A.· ·That's correct.
 ·3· · · · Q.· ·Okay.· Can you explain when it went
 ·4· ·through, when it didn't?
 ·5· · · · A.· ·So I know that recently there has not been
 ·6· ·a recommendation memo going through the concurrence
 ·7· ·process.
 ·8· · · · · · ·I don't know precisely when it stopped,
 ·9· ·and I can't say with certainty that since 2008 every
 10· ·single one of them has gone through that kind of
 11· ·concurrence process.
 12· · · · · · ·I have a recollection of seeing them at
 13· ·times over the years.
 14· · · · Q.· ·What is the last recommendation memo that
 15· ·you recall going through the concurrence process?
 16· · · · A.· ·I'm not 100 percent sure.
 17· · · · · · ·I think that for the first -- under this
 18· ·administration, the first time Haiti was being
 19· ·considered, I think that that recommendation memo --
 20· ·I don't know whether the final version went through
 21· ·the concurrence process, but I recall -- I'm pretty
 22· ·sure I recall seeing a draft of that for input.
 23· · · · · · ·But what I should say there is -- what I
 24· ·see -- as one of the components that would receive
 25· ·it for concurrence, my review of it is not so much


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 ·1· · · · Q.· ·Other than the recommendation memo --
 ·2· ·actually, let me back up one second.
 ·3· · · · · · ·Does the concurrence process involve all
 ·4· ·of the different directorates and offices within
 ·5· ·USCIS?
 ·6· · · · A.· ·I believe so, yes.· I'm sure it includes
 ·7· ·all of the directorates.· I'm not sure that every
 ·8· ·program office is included.
 ·9· · · · Q.· ·Okay.
 10· · · · A.· ·I know that many are.· I just can't think
 11· ·of any that are not.
 12· · · · Q.· ·And do you know if there is some sort of
 13· ·written SOP that deals with the concurrence process?
 14· · · · A.· ·I'm sure there must be, but I don't know
 15· ·what --
 16· · · · Q.· ·This is a government-held job.
 17· · · · A.· ·Yes.
 18· · · · Q.· ·Do you know who I would ask if I wanted to
 19· ·get that SOP?
 20· · · · A.· ·Gemma Button.
 21· · · · Q.· ·In connection with the recommendation
 22· ·memo, are there other documents that are prepared in
 23· ·conjunction with the recommendation memo?
 24· · · · · · ·And if it's changed over time, let me
 25· ·know, and we'll break it up.


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 ·1· · · · A.· ·Yes.· So the Federal Register Notice in
 ·2· ·the past was prepared usually concurrently with the
 ·3· ·recommendation memo with the idea being that it
 ·4· ·would be ready for publication once the secretary
 ·5· ·made a decision.
 ·6· · · · · · ·So the risk there has always been that the
 ·7· ·decision wouldn't be what folks thought it might be,
 ·8· ·and then it would have been wasted effort.
 ·9· · · · · · ·But for years the two were developed
 10· ·basically at the same time.
 11· · · · · · ·And then....
 12· · · · · · ·So as I described the recommendation memo,
 13· ·that has always been the responsibility for Policy
 14· ·and Strategy.
 15· · · · · · ·The Federal Register Notice was -- is a
 16· ·document that Service Center Operations managed the
 17· ·process.· So we -- I won't -- I want to be sure to
 18· ·not characterize it as that we had any authority as
 19· ·far as like what was included in it, but we would
 20· ·draft it based on what we thought needed to be
 21· ·included in there.
 22· · · · · · ·And a lot of it is about the operational
 23· ·process, which is why I think historically it had
 24· ·fallen to us.
 25· · · · · · ·But since....· A piece of that is the -- a


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 ·1· ·description of the -- why the decision that was made
 ·2· ·is being made, or was made, you know, why the
 ·3· ·decision was -- is what it is.
 ·4· · · · · · ·And with the -- so in the past, we would
 ·5· ·have -- we used information from the conditions
 ·6· ·report that RAIO would produce.
 ·7· · · · · · ·We would -- we in Service Center
 ·8· ·Operations would pull information from that that we
 ·9· ·thought would likely be pertinent.
 10· · · · · · ·All of this is, again, just trying to
 11· ·speed up the process so that we wouldn't be waiting
 12· ·for the FRN to be issued once the decision was made.
 13· · · · · · ·So we would draft sort of notional
 14· ·language that would be put in there as the
 15· ·explanation for the decision that hadn't even been
 16· ·made yet.
 17· · · · · · ·With the last Sudan determination, we did
 18· ·draft the FRN, but we left that section that
 19· ·explains the decision blank for the Office of Policy
 20· ·and Strategy to fill in.
 21· · · · · · ·And then with the most recent Haiti
 22· ·determination, we didn't even draft the FRN.· That
 23· ·was turned over to Policy and Strategy as well.
 24· · · · Q.· ·And how about with the most recent
 25· ·El Salvador, Nicaragua FRNs?


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 ·1· ·registered or reregistered.· They know that but --
 ·2· ·we've shared that information with them.
 ·3· · · · · · ·But more specific data than that, I'm not
 ·4· ·aware of anything being shared.
 ·5· · · · Q.· ·Thank you for clarifying.
 ·6· · · · · · ·All right.· So I will represent to you
 ·7· ·that Secretary Kelly's decision to extend Haiti TPS
 ·8· ·was announced on May 22, 2017, and we have this
 ·9· ·e-mail chain dated May 17, 2017.
 10· · · · · · ·In your experience, is it typical to have
 11· ·this much uncertainty about where a TPS
 12· ·determination is going five days before the decision
 13· ·is announced?
 14· · · · · · · · · MR. KIRSCHNER:· Objection; asked and
 15· ·answered.· He's previously testified about these
 16· ·matters.
 17· · · · Q.· ·I think you can answer.· I'm asking with
 18· ·respect to this particular decision.
 19· · · · A.· ·Can you repeat the question again.
 20· · · · Q.· ·Sure.· Sure.
 21· · · · · · ·With this e-mail chain in Exhibit 16, this
 22· ·is five days before Secretary Kelly's decision on
 23· ·Haiti TPS was announced.
 24· · · · · · ·In your experience, is it typical for
 25· ·there to be this much uncertainty about where a TPS


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 ·1· ·decision is heading at this stage of the process?
 ·2· · · · A.· ·Prior to this, this would have been
 ·3· ·atypical.
 ·4· · · · Q.· ·Okay.
 ·5· · · · A.· ·Since this, it seems pretty typical.
 ·6· · · · · · · · · MS. DEGEN:· I'm going to give you
 ·7· ·what has previously been marked as Exhibit 7.
 ·8· · · · · · · · · (Whereupon, Exhibit 7, previously
 ·9· ·marked for identification, was presented to the
 10· ·witness.)
 11· · · · Q.· ·Take a minute to the read through this
 12· ·one.
 13· · · · · · · · · · (Witness reading.)
 14· · · · Q.· ·So this exhibit, previously marked as
 15· ·Exhibit 7, it has just for reference Bates number
 16· ·DHSRFPD 00001250, and it is a chain of e-mails
 17· ·starting August 29, 2017, the most recent one ending
 18· ·August 30, 2017.· A couple of quick questions.
 19· · · · · · ·Oh, sorry.· The Re line on all of these
 20· ·e-mails is:· Sudan TPS.
 21· · · · · · ·And there is -- on the first page of this
 22· ·exhibit, there is a reference in the second e-mail
 23· ·down to:· New memo signed; FRNS completed.
 24· · · · · · ·Where it says "FRNS," is that -- would you
 25· ·understand that to be a reference to Federal


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 ·1· ·DISTRICT OF COLUMBIA· · · ·)
 ·2· · · · · · · · · · · · · · · : ss
 ·3
 ·4· · · · · · I, SUSAN ASHE, a Registered Merit Reporter
 ·5· ·and Notary Public, do hereby certify:
 ·6· · · · · · That the foregoing proceedings were taken before
 ·7· ·me at the time and place herein set forth; that any
 ·8· ·witnesses in the foregoing proceedings, prior to
 ·9· ·testifying, were placed under oath; that a verbatim
 10· ·record of the proceedings was made by me using machine
 11· ·shorthand which was thereafter transcribed under my
 12· ·direction; further, that the foregoing is a true record
 13· ·of the testimony given.
 14· · · · · · Before completion of the deposition, review of
 15· ·the transcript [X ] was [ ] was not requested.· If
 16· ·requested, any changes made by the deponent (and provided
 17· ·to the reporter) during the period allowed are appended
 18· ·hereto.
 19· · · · · · I further certify that I am not interested in
 20· ·the outcome of the action.
 21· · · · · · WITNESS my hand this date August 10th, 2018.
 22
 23· · · · · · · __________________________________________
 24
 25· ·My Commission Expires: May 31, 2022


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